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                                                                            y.s.ni-r) LU
                  IN THE XJNITED STATES DISTRICT COURT FOR                       •
                        THE SOUTHERN DISTRICT OF GEORGIA                  '017 £4;,p           x
                                   SAVANNM DIVISION                              '^10 Pi'} j}^ j
UNITED STATES OF AMERICA
                                                                                     /o). OFGA.
                                                        CASE NO. CR416-096-2


XAVIER WHITFIELD,

       Defendant.




                                        ORDER


       Before     the    Court     is   the     Government's       Motion       to     Dismiss

Ancillary Petition of Marcel Capri Harris. (Doc. 76.) For the

following reasons, the Government's motion is GRANTED.

       On May 31, 2016, Defendant Xavier Whitfield plead guilty to

one count of conspiracy to distribute and possession with intent

to distribute a controlled substance in violation of 21 U.S.C.

§ 846.    (Doc.       47.)   On    that    same       date,   this    Court     entered       a

Consent       Order     of   Forfeiture         against       property    possessed           by

Defendant Whitfield, including a Taurus Model PT945 .45 caliber

pistol bearing serial number NNJ03475. (Doc. 49.) On November 4,

2016    and    December      7,    2016,       the    Government     provided          written

notice    to    anyone       who   might       have    interest      in   the    property.

(Doc. 68; Doc. 74.) On January 9, 2017, Marcel Harris filed a

response to the notices claiming to own the Taurus Model pistol.

(Doc. 75.) This response was filed under "penalty of purchase"

and    attached    a    receipt for        a   Taurus     Model    G2 firearm          with    a
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